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DAVIS BUCCO MAKARA & DORSEY
By:     Paul A. Bucco, Esquire
        Patrick M. Blair, Esquire
Attorney ID Nos. 52561/202029
10 E. 6th Avenue, Suite 100
Conshohocken, PA 19428
(610) 238-0880                                       Attorneys for Plaintiff
           UNITED STATES DISTRICT COURT FOR EASTERN DISTRICT OF
                                        PENNSYLVANIA
THE UNITED STATES OF AMERICA                    :
FOR THE USE AND BENEFIT OF                      :
SPACE MANAGEMENT CONSULTANTS, LLC :
1324 Locust St, Apt. 1520                       :
Philadelphia, PA 19107                          :    No.
                              Plaintiff,        :
                v.                              :
                                                :
SENATE BUILDERS & CONSTRUCTION                  :
MANAGERS, INC.                                  :
2232 DeKalb Pike                                :
East Norriton, PA 19401                         :
                              and               :
                                                :
LIBERTY MUTUAL INSURANCE COMPANY :
175 Berkeley Street                             :
Boston, MA 02116                                :
                              Defendants.       :

                                        COMPLAINT

       This action is brought in the name of the United States of America for the use and benefit

of Space Management Consultants, LLC, pursuant to 40 U.S. C. § 3131 et seq. (the "Miller Act").

Space Management Consultants, LLC by and through its undersigned counsel, Davis Bucco

Makara & Dorsey, hereby avers as follows:

                                          PARTIES

       1.      Space Management Consultants, LLC (“SMC”), is a corporation duly licensed and

existing under the laws of the Commonwealth of Pennsylvania, with a principal place of business

as set forth above.
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         2.      Defendant, Senate Builders & Construction Managers, Inc. (“Senate”) is a

corporation duly licensed and existing under the laws of the Commonwealth of Pennsylvania, with

a principal place of business as set forth above

         3.      Defendant, Liberty Mutual Insurance Company (“Liberty”), is an insurance

company registered to do business in the Commonwealth of Pennsylvania with an address as set

forth above.

         4.      Defendants regularly conduct business in Pennsylvania and in the Eastern District

of Pennsylvania.

                               STATEMENT OF JURISDICTION

         5.      This Court has jurisdiction over this action pursuant to 40 U.S.C. §§3131, 3133 and

28 U.S.C. §1367.

         6.      Venue is proper in this judicial district pursuant to 40 U.S.C. §3133 and 28 U.S.C.

§1391.

                                   FACTUAL BACKGROUND

         7.      The construction project at issue is the replacement of ten (10) elevators at the

Department of Veterans Affairs Medical Center (“VAMC”) located at 1400 Blackhorse Hill Road,

Coatesville, PA 19320 (the “Project”).

         8.      On or about September 9, 2021, Senate obtained a “Payment Bond” from Liberty

for the Project in the amount of $8,779,183.00, with a contract number of 36C24421C0087 (the

“Bond”). A true and correct copy of the Bond is attached hereto as Exhibit “A”.

         9.      At all times relevant hereto, The Shepherd Agency, LLC facilitated acquisition of

the Payment Bond.
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        10.      On or about September 27, 2021, SMC entered into a subcontractor agreement

(“Subcontract”) with general contractor Senate, to provide, among other things, architectural

design services for the Project. See a true and correct copy of the Subcontract is attached hereto as

Exhibit “B”.

        11.      The subcontract provides that Senate will pay SMC $950,000.00 for SMC’s

architectural design services at the Project. Id. at 1.

        12.      The Subcontract further provides that SMC will be paid pursuant to the Billing

Phases in the Subcontract. Id.

        13.      The Billing Phases required a total payment of $750,000.00 by the time SMC

completed 65% of its architectural designs. Id.

        14.      The remaining $200,000.00 was to be paid to SMC upon completion of 100% of

SMC’s design services. Id.

        15.      On or about February 24, 2022, SMC submitted full and complete architectural

designs for the Project.

        16.      Senate’s project manager, Nazir Alsakary, then certified that SMC had submitted

100% of its architectural designs. See a true and correct copy of the “Transmittal of Shop

Drawings, Equipment Data, Material, Samples, or Manufacturer’s Certificates of Compliance” and

supporting documents attached hereto as Exhibit “C.”

        17.      Thereafter, SMC sent an invoice to Senate for the remaining $200,000.00 pursuant

to the Billing Phases of the Subcontract. See a true and correct copy of SMC’s 2/24/22 Invoice

attached hereto as Exhibit “D.”
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          18.      The invoice was submitted to Mariah Martinez, Senate’s bookkeeper, and Ms.

Martinez acknowledged receipt of the Invoice on or about February 24, 2022. See a true and correct

of Ms. Martinez’s 2/24/22 email attached hereto as Exhibit “E.”

          19.      At all times relevant hereto, SMC performed its obligations pursuant to the

Subcontract in a timely, proper and workmanlike manner.

          20.      At all times relevant hereto, SMC requested final payment from Senate in the

amount of $200,000.00 once 100% of the architectural designs had been submitted. See Exhibit

D.

          21.      At all times relevant hereto, Senate has refused to pay SMC the outstanding amount

of $200,000.00 due and owing under the Subcontract.

          22.      Senate’s refusal to pay SMC appears to rest on the fact that Senate either has not

billed, or has not received payment from, the VAMC for the completion of SMC’s work. See a

true and correct copy of an email from Senate’s attorney, dated March 21, 2022, and attached

hereto as Exhibit “F.”

          23.      At all times relevant hereto, Senate’s failure to pay SMC is a violation of the Miller

Act.

          24.      On or about March 21, 2022, SMC submitted a claim under the Miller Act for the

outstanding amount of 200,000.00 to the Shepherd Agency. See a true and correct copy of the

SMC’s March 21, 2022 correspondence attached hereto as Exhibit “G.”

          25.      Upon information and belief The Shepherd Agency forwarded the claim to Liberty

Mutual and Liberty Mutual.

          26.      SMC is entitled to payment of the outstanding sum of $200,000.00 as set forth

herein.
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                          COUNT I – BREACH OF CONTRACT
                                        SMC v. Senate
       27.      SMC incorporates by reference the preceding paragraphs as if set forth fully herein.

       28.      SMC has performed all of its duties under the terms and conditions of the

Subcontract.

       29.      Senate’s failure to pay the outstanding $200,000.00 pursuant to the Subcontract

constitutes a material breach of the Subcontract.

       30.      As a direct and proximate result of the breach, SMC has suffered damages in the

amount of $200,000.00, plus interest.

       WHEREFORE, Space Management Consultants, LLC, hereby demands judgment in its

favor and against Defendant Senate Builders & Construction Managers, Inc. in the amount of

$200,000.00, along with prejudgment interest, costs, and such other relief as the Court deems

appropriate.

                   COUNT II – MILLER ACT, 40 U.S.C. §3131 ET SEQ.
                                        SMC v. Liberty
       31.      SMC incorporates by reference the preceding paragraphs as if set forth fully herein.

       32.      As set forth above, SMC has satisfied all of its obligations pursuant to the

Subcontract and conditions precedent for payment.

       33.      Pursuant to 40 U.S.C. §3131 et seq., SMC is entitled to payment from Liberty in

the amount of $200,000.00, plus interest on the Bond issued for the Project.

       34.      SMC’s last day of work on the Project was February 25, 2022.

       35.      This claim as been brought within ninety (90) days of SMC’s last work on the

Project.

       36.      All of the conditions precedent or requirements of the Miller Act relating to the

filing of this lawsuit have been fulfilled or have occurred.
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       WHEREFORE, Space Management Consultants, LLC, hereby demands judgment in its

favor and against Defendant, Liberty Mutual Insurance Company in the amount of $200,000.00,

plus statutory interest, attorneys fees, costs, and such other relief as the Court deems appropriate.

                                              Davis Bucco Makara & Dorsey




                                       By:    /s/ Paul A. Bucco
                                              PAUL A. BUCCO, ESQUIRE
                                              Attorneys for Plaintiff,
                                              Space Management Consultants LLC
   Dated: May 6, 2022
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                EXHIBIT *G))
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From: Space management Consultants, LLC
Phone: 610-213-0336
Email: Yasser'@spacemanagementconsult.com
Webpage: www.spacemanagementconsultants.com



To: The Shepherd Agency, LLC
7051 Camp Hill Road, Suite 200
Fort Washington, PA 19034
(21s) 233-4330

Date:03/2L/2022
Project Name: VAMC Coatesville / Replace L0 Elevators
Government Project No: 542-14-107
Government Contract No: 36C24421C0087
Project Address: Blackhorse Hill Road, Coatesville, PA


Subject: Miller Act Bond Lien notification and official Claim

To Whom lt may concern,

Space management consultants is subcontracted by Senate Builders and construction managers to
provide Design services for the above-mentioned federal project as per the signed contract between
both parties attached as Exhibit (a)

The Design services were provided as per the agreed contract and Space management exceeded the
requested deliverables as to the 100% design completed and delivered from Senate to the Government
on O2/24/2022. See Photo for Design meeting held at Government office with all engineers for the 100%
Design completion. Exhibit (b)

Senate Builders paid for all agreed invoices and default of the last payment of S 200,000 for the 100%
Design completion as per attached raised invoice Exhibit (c )

Senate builders rejected the invoice and repeatedly stalled the several reminders as well as confirmed
the rejection by their legal entity with no facts stated or referenced. Also refused to share the payment
received from the government as well as the contract with the government and the approved schedule
of value even with the fact that this is public record and have the right to know.

We did notify Senate builders with out intent to file this Bond Lien as per the notice attached in Exhibit
(d)


We are following with the official claim for your kind investigation and necessary action. Kindly let me
know if anything else is needed from our side or any specific forms need to be filled.
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We will be following up informing the government on this claim and to let them know that we will not
be able to extend any further services based on the default of this invoice.



Best Regards,




Yasser Osman, PhD, AlA, PMP
Architect on Record.
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               Exhibit (a) signed Contract
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         g     llr


  SUNAIBEUILDENS



STANDARD AGREEMENT BETWEEN SENATE BUILDERS & CONSTRUCTION ]VIANAGERS,INC. &
SPACE MANr\GEMEN'I CONSULTANTS
                                             S'I'ANDARD AGREEMENT I P,O, # 167 I

Madc as of   this    27'h day of Scptcmber in thc ycar o{ Two Thousand Twonty (}ne

BETWEEN
  Senatc Builders      & Construction Managers, Inc,                                     Space Managemcnt Consultants
  2232DeKalb Pike, East Norriton, PA 194{ll                                              2232 DeKalb Pike
  610-834-2952 Fax; 610-292-7188                                                         E. Norriton, PA 19401
(hereinalicr ref'erred t<l as "Conskuction Managcrs")                                  (hereinafter refcrrcd to as "Consultant")

For the {bllowing Project: Replrce    l0 Elevstors Project . {llnhact               # t6C244'}.1C0087




Thc Construction Manageni and the Consultant agrec as sct forth below:

I.        GIINERAI,

          A.         The Consultant shall providc fbr thc Conslruction Managcrs, in o""urdunce with thc Tcrnts and
                     Conditions of this Agreement, the lbllowing profcssional servioes:

                                                                                                                        TOTAL
 BASIC SERVTCES                                               BILLING PIIASE                                             LUMP
                                                                                                                       STJM FEg

                                                                                                                      $ 100,000.00
       Construction                   lJoon acccotance of nroulsal

         Docurnents               r   Upon cornplction   of   l5oro   design                                          $200.000.00
                                  .   t]pon complelion of5094 dcsign                                                  $200.000.00
                                      Upon complction oJ      6!f.    {esign                                          s250.000.00
                                      Upon mmpletion of i00% design                                                   $200.000.00


           TOTAI, F&tr                                                                                                $950,000.00




CONST'RUC'IION MANAGERS'S REQUIREMENTS:                                        Flach submittal   of construction documents frorn     lhe
Consultant to the Construction Managcrs shall be presented as follorvs:

m         Electronic Files requircd are PDF and DWC

NO't'll that any non-conformancc with the above which results in tirnc spent by Construction Managcrs tbr
reformatting, translation, or conversion could result in rr back charge; cach original or revised set of drawings
submitted must be accompanied by the elecronic files.

NOTE detnil(s) ibr Basic Service(s) to   be   provided. Tenns and Cjonditions shall be per this Agreement.
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'l'his Agrccmcnt cntered into as of the day and year first writtcn ahovc. Thc signaturc bclow warrants that thc pclson
signing has the aLrthority to sign on bchallolthc Consultnnt and to obligatc the Consultant to the tcrms lnd conditions
olthis Agreemcnt.



                                                            CONSULTANT:



      ATE      BUILDERS
                INC;
                                     e-
                                      CONSTRUCl'lON
                                                                   k
                                                            SPACF; MA NA(; Hvl     ljN'l' CONS   L]   L'rA N'rS


 IIY: tugene J. McNally, III - Presidcnt                    llY:   Yasser Osman,

 DAT[:                                        09-2'1-2021 DATE:                                               09-27-242t




II.      "T'ERMS AND CONDII'IONS OF'AGREEMENT

         A.       Thc Constmction Managcrc shall be thc general adnrinistrator of thc Project, and shall
                  facilitate the exchange of information among the various f-'onsultants; should the
                  Consultant feel at any timc that lack oiinfonnation is irnpcding lhc progrcss or qualiry of
                  tris work, the Construclion Managers shall be nutif-red in writing. AII communication
                  betwcen tite Consultant flnd thc Owner or Contractor shall be through the Construction
                  Managers in writing, unless otherwise arithorized.

         B        The Consultant's serviccs shall be perlornred in quality, character, sequenoe and tirning so
                  that they will be coordinatcd with thc scrviccs olthc Clonstruction Managcrs and all othcr
                  consultants for thc Projcct.

         {:       'I'he Construction Managers may clcct to provide projcct infonnation (ibr cxarnple basc
                  rcfcrencc filcs) in the Construction Managcrs' CAD standards or criteda documents
                  providcd by others.

                  This inlirrmation will bc providcd at the Constnrciion Managers' expense. Complctctl
                  CAD work shall be refumed to thc Construction Managen in the sarne soihruare, release
                  llumber, layering, etc. as that received from Construction Managers andlor as that required
                  by Client, Atry translation, plotting or CAD work requircd by thc Constnrction Managcrs
                  to complete the consultant's work in accu'clance will be back charged.

         D.       At his   expense, the Consultant shall providc progrc'ss copics of drawings, repods.
                  spacifications and othcr necessary information to the Construction Managers and other
                  corrsultants. Thc Consultant shall becorne familiar with the Work designed by thc
                  Construction Managers and othcr consultants as ncccssaly for thc properr coordinatioll ol
                  his work into the project.

         E.       The Construction Managcrs shall not be rcsponsiblc to tho Owncr lirr the acts or omisstot.ts
                  of the Consultant, the Construction Managers' other consultants, the (:ontractor, the
                  Subcontractors, any of thcir agcnts or employces, or arly other persons pcrfirrming any ot'
                  the Work. The Consultant hercby agrees to hold the Construction Managers harmlcss fbr
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            any claim$ arising out of the work       of the Consultant, including legal expenses      and
            atiorney's fees.

       F    In addition to all applicablc codcs, ordinances and restrictions, and in addition to sound,
            professional judgement, the Consultant's services shall be performed in compliance with
            all additisnal requirements providcd by the Construction Managers.

       G.   The Construction Managers shall have the right to transfer this Agreement to the Owner
            with no effect.

       H.   The Consultant agrees to not bring any claim against Construction Managers fcr any reason
            eKcept to require compliance with this Agrecrnent,

III.   CONSTRUCTION DOCUMENTS PHASE

       A.   When authorized by the Construction Managcrs in writing, the Consultant shall prepare
            Drawings and Specifications setting forth in detail the requirements for the consfruction of
            thc Projcct, all of which are to be approved by thc Owncr and the Construction Managers.
            The Consultant shall prepare the Drawings and Specifications in such format as the
            Construction Managers may rcasonably require. Revisions as required by the Owner and
            Construction Managers (except those deemed by thc Owner and Construction Managers to
            be a change in the original requircmcnts) shall be promptly incorporated at no additional
            fee.


       B.   When requested by the Construction Managcrs, the Clonsultant shall be available for a
            project "kick off' meeting at the start of constructinn documents as well as subsequent
            coordination meetings during the Constnrction Documcnts process.

       C.   Consuitant shall provide ali additional clarifications, revisions. or supporting data that may
            be required to permit their portion of the work



IV.    BIDDING PHASE

       A    The Consultant shall assis! the Construction Managers and the Owner in answering
            bidder/Subcontractor$ questions andlor preparing necessary addenda at no additional      f-ee.


       B.   The Consultant shall providc interpretation of their Drawing.s and Specifications at no
            additional fee.



v      CONSTRUCTION PHASE                  ADMINISTRATION            OF TfIE        CONSTRUCTTON
       CONTRACT

       A.   Upon rcqucst by the Construction Managers, the Consultant shall visit thc sitc or pcrlbrm
            other additional services, at Consultant's rates which will be providcd upon execution of'
            this Agrecment.
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        t].   Thc Consultant shall pr<lrnptly render written recommendations, on all claims, disputes and
              other mattcrs rclating to the Consultant's work, as requcstcd by Construction Managcrs
              with no additional ti:c.

        C.    Thc Consultant shall providc interpretation of his Drawings and Specifications and shall
              include shop drawing revicw at no additional fee.

        D.    When requested by the Construction Manager, the Consultant shall be available firr                  a
              "projcct closc-out" mccting with Construction Manager, Ot'*ncr and Contractor.

VI.     'I'TME FRAMB]

        A     The Clonsultant shall pcrlbrm its Serviccs as cxpeditiously as is consislent with profcssional
              skillandcareandtheorderlyprogrcssofthe Wolk. TheConsultantshall subnrit,forthe
              Construction Managers' approval, a schcdule for the pcrfbnnancc of the Consultanl's
              scrvises, The schcdule, when approvcd by thc Construction Managers, shall not, $xccpt
              for reasontble cause, be exceeded by the Consultant.

VII.    REIMBURSABLEEXPENSES

        A.    Thc expense of rcproductions, postagc and handling of Drawings and Spcci{ications and
              other documcnts during design phase ars not to be considcred as rcimbursable expenses.
              lteproductions requircd for Signing and Sealing and all docutncnts required tlrerealter by
              the Ownel shall be reimbulsed at cosl. For any and all reimbursable expsnses, back-up
              inlbrrnatinn must be providcd to Construction Managcrs.

VIII.   PAYMENTS ON ACCOUNT OF SERVICES

        A.    A condition precedcnt to paymcnts which are payablc to Consullant hereundcr shall bc
              receipt by Construction lvlanagcrs of payment from Owner for Consultanl's work. No
              interest shall accrue on Consultant invoices duc to progress billing. It is cxprcssly agrced
              that Construction Managcrs shall be liable kr Clonsultant lor payments under this
              Subcontract only r,vhen Construction Managers rcceives paynenl liorn Owner, and thcn
              only to such cxtent as thc amount includcd in the payrnent liom thc Owner lbr Consultant's
              work. If payrnent liom the Owner is unspecified, then the amount payable to Consultant
              tiom the funds rcceivetl by Clonstruction Managcrs shall be proportionatc to ail othcr work
              fbr which the Owner has been billed by Construction Managers for this project. Nothing
              containcd hcrein shall prcvcnt Clonsultant tiom protccting and cxcrcising any licn rights it
              nray have,

IX.     DISPI.]TE RESOI,UTION

        A.    In an eIl'ort to rcsolve any cont'licts thal arise tluring the desig-n or construction of thc projcct
              or liollowing the cornplction of'the projeet, the Consultant and the Construction Managcrs
              agrce that all disputes betwccn thcrn arising out of or rclaiing to this Agreetncnt shall bc
              submitteti to nonbinding mediation unless the parties nrutually agree otherwise,

X.      TERMINATION OF AGREEIVIENT
        A.    'l'his Agreemcnt is ternrinatcd if'and when tlrc Construction Managcrs/Owncr Agrecmcnt
              is tenrrinatiJd. The Construction Managcrs shall promptly notily the Consultant of- such
              tennination and all work shall cease immediately,
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          B.        This Agreement may be terminated by either party upon 24 hours written notice should the
                    other parfy fail substantially to perform in accordaace with its terms,
          c.        Unless agrced otherwise, the Consultant's services are f inished at issuance of Certificate of
                    Occupancy.
          D.        Upon completion of his work, Consultant shall complete certifications dealing with his
                    work as requestcd by thc Construction Managers and return same fully signed and sealed
                    to the Constnlction Managcrs.

  XI.     INSURANCE

          A.        The Construction Managers and the Consultant shall each eflcct and maintain liability
                    insurance to protecl themselves from claims arising out of the performanco of professional
                    services under this agrccment and caused by any error, omission or negligent act for which
                    they are legally liable. Construction Managers shall have the right to request a Certificate
                    of Insurance at any time.

  XII.    COMPENSATIONFORADDITIONALSERVICES

          A.   In the evenl of a substantial change in scope of Construction Managers work by the Owner, the
               Construotion Managers may require an immediate, temporary halt in the Consultanfs work.
               All additional services dctcrminxl shall bc performcd at an hourly rate iper attachcd fee
               schedule) or at a fixcd fce predetermined by both Construction Managers and Consultant. In
               no case sball the Consultant perfonu any additional services without written approval of the
               Construction Managen. No additional services shall be paitl until Consultant's Supplemental
               Authorization is signed and returnc<l to Construction Managers office.

  XIII.   THE CONSTRUCTION MANAGERS SHALL HAVE TBE RIGHT TO COPY THE
          CONSULTANT'S WORK AS REQUIRED FOR:

               A.  Bidding, permitting, construction and closs-out of this project.
               B.  Providing infomation to current or future owners of thc project for thcir use in advising a
               current or fufure user (tenant).
               C. For informational purposes only in designing future renovations/additions to the original
               projccl
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Exhibit (b) Meeting for LOO% Design held at Government
                  office on 0212412022
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                                 .:i
                                 1'    rt




Meeting took place on O2/24 with Project parties:
   o Senate Builders VP- Construction and 2 construction managers.
   o Gilmore & Associate representatives as Engineers on Record
   o Coolsys Representative as MEP Engineers on Record.
   o Space management architect on record.
   O   Government Contractor officer representative.
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               Exhibit (c) signed Contract
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Space Management Consultants, LLC
2232 DeKalb Pike
East Nortiton, PA 19401 US
+1 2679567177
mariah@senatebuilders.com

INVOICE
BILTTO                                            TNVOICE# 1016
SENATE BUILDERS &                                     DATE 0U24t2022
CONSTRUCTION                                      DUE DATE 0312612022
MANAGERS,INC.                                           TERMS Net30
2232 DEKALB PIKE
EAST NORRITON, PA     1   9401
USA




 SERVICE            DESCHIPTION                   OTY          RATE      AMOUNT

ARCHITECTURE                                        1     200,000.00   200,000.00
SERVICES


                                    BALANCE DUE
                                                               $200,000.00
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Exhibit (d) lntent to file notice sent to Senate Builders on
                   ThursdaV O3lL7l2O22
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                        Notice of lntent to File Miller ACT Bond Claim.


Notice to: Eugene J. McNally, Senate Builders and Construction Managers.

Address:2232 Dekalb Pike, East Norriton, PA 19401

Claimant:

Name: Space Management Consultants.

        :   Yasser Osman, RA, PMP, PhD.

Phone: 610-213-0336

Email: vasser@spacema          merrtconsult.com



Project Name: VAMC Coatesville     / Replace    10 Elevators

Government Project No: 542-I4-LO7

Government Contract No: 36C24421C0087

Project Address: Blackhorse Hill Road, Coatesville, PA



The above Claimant was hired to provide Architecture design services to your project at the address
above. As a result of non-payment claimant is filing a bond claim in the amount of S 200,000.



The following plan of action   will be taken:

    -   Payment not received in full bv EOD Fridav 03/18/2022
    -   Surety will be notified by resistered mail On Mondav 03/2U2022.
    -   Government will be notified on Mondav 03/21/2022
    -   Will be waiting for Surety clarification and investigation
    -   Action will be enforced on Due time with related court.
Proof of Record available:

        Senate Builder rejection of raised invoice. Received by Email
        Government payment to Senate Builders for Design Services provided.
        Contract between Senate Builders and Space management.
        Contract between Senate and Government (Public Record)
        Approved Schedule of value by Government for the project.
        Senate submittal of 35%,50%,65%,95% and 100% Design to Government
